                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION


 IN RE:
          CHRISTMAS OF LIGHT PRODUCTIONS
          TIN: XX-XXXXXXX

                                                                        16-81686-CRJ-7
                           NOTICE TO CLERK OF THE COURT
                                  STATUS REPORT

           COMES NOW Judith Thompson, Trustee for the above styled case and
 shows unto the Honorable Court the following:

             1. The Chapter 7 petition was filed the 10th day of June 2016.

             2. Sparkman, Shepard & Morris, P.C. are qualified attorneys to assist the
                trustee in various matters in this case and employment was approved
                December 8, 2016.

             3. Stuart M. Maples, Attorney is qualified to further assist the trustee in
                various matters and employment was approved December 8, 2016.

             4. Ron Steen, Attorney at Thompson Burton PLLC, a firm in Tennessee, as
                employ April 6, 2017 to assist the Bankruptcy Estate in the State of
                Tennessee.

             5. All attorneys are working in the best interest of the Bankruptcy Estate
                and there is no duplication of any work performed.

             6. The attorneys are working on a civil action in the United States District
                Court for the Middle District of Tennessee styled In:cite Media LLC vs.
                Christmas of Light Productions, LLC, et al., Civil Action No. 3:16-0629.

             7. Special Counsel on behalf of the Bankruptcy Estate has filed its Answer,
                Counterclaim and Cross-claim on October 29, 2018. All parties filed
                responses in a timely manner except for “pro se” Defendant, Bryan
                Robinson.

             8. In:cite Media LLC is eager to resolve the case and attempts at
                negotiation are in progress. Discovery is commencing.



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    Therefore, upon further information the Trustee shall file an update and/or status
 report or file a Final No Asset Report.

               Respectfully, submitted this 7th day of January 2019..



                                                        /s/ Judith Thompson
                                                        Judith Thompson, Trustee
                                                        P. O. Box 18966
                                                        Huntsville, Alabama 35804-8966
                                                        (256) 880-2217




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